      Case 1:04-cv-00798-PLF-GMH Document 1128 Filed 03/13/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

          For the reasons discussed on the record at the hearing of March 12, 2019, before the undersigned,

it is hereby

          ORDERED that the government’s motion to compel (ECF No. 1123-1) is GRANTED; it is further

          ORDERED that Caimant Alexander Lazarenko shall cooperate with his counsel and the govern-

ment in setting his deposition and making himself available for his deposition either prior to the scheduled

close of fact discovery in this case or shortly thereafter with the agreement of the concerned parties; it is

further

          ORDERED that Claimant Alexander Lazarenko shall give the government two weeks notice of

the date that he will make himself available for his deposition in order for the government to make the

necessary preparations for the deposition; it is further

          ORDERED that the parties shall continue to cooperate with respect to the location of the deposition

of Claimant Alexander Lazarenko; it is further

          ORDERED that Claimant Pavrel Lazarenko’s deposition may take place on April 4, 2019, not-

withstanding that the date is after the scheduled close of fact discovery.
     Case 1:04-cv-00798-PLF-GMH Document 1128 Filed 03/13/19 Page 2 of 2



       SO ORDERED.                                  Digitally signed by G.
                                                    Michael Harvey
                                                    Date: 2019.03.13 09:20:21
Dated: March 13, 2019              ___________________________________
                                                    -04'00'
                                   G. MICHAEL HARVEY
                                   UNITED STATES MAGISTRATE JUDGE




                                      2
